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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                    Southern Division


 IN RE US FERTILITY, LLC                               Master File No. 8:21-cv-299
 DATA SECURITY LITIGATION

 This Document Relates To:

 All Actions



      STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                             INFORMATION

        This Order Regarding Production Of Electronically Stored Information And Paper

Documents (“ESI Protocol”) shall govern the production of documents, including electronically

stored information in the above-captioned case and all actions that are later consolidated with that

case (collectively, the “Litigation”), including between Plaintiffs Alec Vinsant, Marla Vinsant,

Jane Doe 1, Lisa Cox, Nikitia Hollingsworth Forest, Doris Matthew, Jane Doe, Paul Porta, Kelly

Jacobs, Heidi Schneider, Laura Petersen, Riley Fadness, Tiffany Hitaffer, Karen Logan, Raynard

Stuckey, Samantha Stuckey, Britt Decker, Anne Strickland, Cristielly Santana, and Patrisia Vela

(“Plaintiffs”), and Defendants US Fertility, LLC, Shady Grove Reproductive Science Center P.C.,

and Fertility Centers of Illinois (“Defendants”) (collectively, the “Parties”).

        To expedite discovery in the Litigation, pursuant to this Court’s authority and with the

consent of the Parties, it is agreed:

    1. PURPOSE

        This Order will govern discovery of electronically stored information (“ESI”) in this case

as a supplement to the Federal Rules of Civil Procedure, and any other applicable orders and

rules. All disclosures and productions made pursuant to this Stipulated Order will be subject to


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any Stipulated Protective Order entered in the Litigation. Except as expressly provided, this

Order does not create greater duties or obligations than those existing under the Federal Rules of

Civil Procedure and applicable law

   2. COOPERATION

       The Parties are aware that the Court expects cooperation on issues relating to the

identification, preservation, collection, search, review, production, integrity, and authentication

of ESI. The Parties will familiarize themselves with the Court’s Principles for the Discovery of

Electronically Stored Information in Civil Cases (“Principles for Discovery of ESI”).

       The Parties will work cooperatively to fashion reasonable, precise and cost-effective

search strategies and to agree upon and implement appropriate measures for quality assurance

and quality control. The parties should be forthcoming and transparent in disclosing their use of

mechanized tools to cull responsive data and are encouraged to bring technically-adept personnel

together to resolve e-discovery issues.

   3. PROPORTIONALITY

       The proportionality standard set forth in Federal Rule of Civil Procedure 26(b)(2)(C)

must be applied in this case when formulating a discovery plan. To facilitate adherence to the

proportionality standard, requests for production of ESI and related responses should be prepared

in consultation with custodians, IT custodians, and/or IT administrators so the resulting

discovery is reasonably targeted, clear, complete, accurate, and as particularized as practicable.

   4. LIAISON

       The Parties have identified liaisons to each other who are and will be knowledgeable

about and responsible for discussing their respective ESI. Each e-discovery liaison will be

familiar with, or gain knowledge about, the technical aspects of e-discovery, including the



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location, nature, accessibility, format, collection, search methodologies, and production of ESI in

this matter. The Parties will rely on the liaisons, as needed, to confer about ESI and to help

resolve disputes without court intervention.

   5. PRESERVATION

       The Parties will take reasonable steps to preserve potentially relevant ESI. By preserving

ESI for the purposes of this litigation, the Parties are not conceding that such material is

discoverable. To reduce the costs and burdens of preservation and to ensure proper ESI is

preserved, the Parties agree to meet and confer on preservation during the pendency of the

lawsuit, specifically, but without limitation, preservation of metadata, preservation of deleted

ESI, backup or archival ESI, ESI contained in dynamic systems, ESI destroyed or overwritten by

the routine operation of systems, and offsite or online ESI.

   6. PRODUCTION MEDIA AND PROTOCOL

       The production media for document productions shall be secure FTP link provided via

email at the time a production letter is emailed, unless the Parties agree otherwise. If the Parties

agree, the production media may be a CD-ROM, DVD, external hard drive (with standard PC

compatible interface), or USB drive, so long as such production media is sent no slower than

overnight delivery via FedEx, UPS, or USPS. Each item of production media (or in the case of

FTP productions, each production transmittal letter) shall include: (1) text referencing that it was

produced in In Re US Fertility, LLC Data Security Litigation, (2) the production date, and (3) the

Bates number range of the materials contained on such production media item.




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   7. SEARCH METHODOLOGIES

       a.        Information to be exchanged. Within 14 days of this Order, and within thirty

days of any subsequent requests for production of documents, the Parties agree to exchange

information regarding:

            i.   The identity and job title of custodians or categories of custodians possessing

relevant information and from whom documents will be collected or produced;

         ii.     The location(s) and description(s) of relevant data sources including custodial and

non-custodial documents, structured data sources, and applications;

        iii.     A description of any potentially discoverable ESI that the party is aware of having

been lost or destroyed; and

        iv.      A description of any potentially discoverable ESI that the party contends is

inaccessible or only of limited accessibility and, hence, not producible by that party without

undue burden and/or expense, including:

                        1. the reasons for the party’s contention regarding accessibility; and

                        2. the proposed capture and retrieval process available (if any) for

                            identification and/or recovery of the information deemed inaccessible

                            (including cost estimates if readily available).

       b.        ESI Search. The Parties will cooperate in good faith regarding the disclosure and

formulation of appropriate methods to search for and identify ESI that is subject to production in

discovery and filter out ESI that is not subject to discovery. Agreement on a search methodology

does not relieve a party of its obligations under the Federal Rules to conduct a reasonable search

and produce all relevant and responsive documents and ESI of which it is aware. Such




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documents should be produced promptly and should not be withheld pending agreements

regarding (or production of) other aspects of discovery.

       c.       Search Methodology. The Parties agree to meet and confer in good faith about

any technology or process that a Producing Party proposes to use to streamline the document

production in this case (e.g., search by key term and/or data, email threading, near de-

duplication).

       For example, the Parties anticipate using search terms to narrow certain sets of

documents subject to linear review where appropriate. Prior to implementing such search terms,

the producing party will provide a list of proposed search terms to the requesting party and the

Parties will meet and confer regarding any modifications or additional terms proposed by the

requesting parties. The Parties will cooperate in developing search terms in furtherance of the

goal of Proportionality Standard of the Rules of Civil Procedure, for example, as appropriate, by

testing multiple versions of search terms, providing hit reports for each search term and

custodian, and selecting and sequencing the terms to be used for review and production.

       The Producing Party will conform any agreed modifications or additional term to the

search syntax and any constraints of the review and analytics platform being used, and will

identify the final form or forms of any such search term.

       The Parties will meet and confer in good faith if they anticipate using predictive coding,

continuous active learning or any other technology assisted review or advanced analytics.

Following the disclosure of such technology or process, the Parties shall attempt to resolve any

objections to the use of such technology or process before seeking relief from the Court. A party

will not use predictive coding, continuous active learning, or any other technology assisted




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review or advanced analytics in a production of documents before disclosing the use of such

tools to the other party and meeting and conferring about appropriate methods and protocols.

       This Stipulation is not intended to limit a party’s ability to use basic technology and

analytics, such as email threading, domain exclusions, and metadata analysis to facilitate a

responsiveness review. To the extent a party wishes to use such methods, the parties will meet

and confer to discuss the details of how these methods will be used.

   8. TESTING AND VALIDATION

       The Parties intend to conduct a linear review of documents that hit on agreed upon search

terms to identify documents responsive to requests for production served on them. At the

substantial completion of their linear review process, any party that produces more than 10,000

documents in the litigation shall disclose the number of documents that hit on the agreed search

terms, the number of documents produced or withheld as privileged, and the number of

documents identified as non-responsive during the course of the review.

       Any party that produces more than 10,000 documents in the litigation agrees to quality

check the data that does not hit on any terms (the Null Set) by selecting a statistically random

sample of documents from the Null Set. The parties will meet and confer in good faith in an

attempt to agree on the appropriate sample size. If responsive documents are found during the

Null Set review, Defendants agree to produce the responsive documents separate and apart from

the regular production. The Parties will then meet and confer to determine if any additional

terms, or modification to existing terms, are needed to ensure substantive, responsive documents

are not missed.




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   9. PRODUCTION FORMATS

       a.      Production Format/TIFFs. Unless the Parties agree to a different format,

documents should be produced with TIFF images and named according to the Bates number of

the corresponding TIFF image. Each *.tiff file should be assigned a unique name matching the

Bates number of the corresponding image. The Bates number should be consistent across the

production, contain no special characters, and be numerically sequential within a given

document. Attachments to documents should be assigned Bates numbers that directly follow in

sequential order the Bates numbers on the documents to which they were attached. If a Bates

number or set of Bates numbers is skipped, the skipped number or set of numbers should be

noted, for example with a placeholder, or by providing a list of Bates numbers containing

documents removed from the production with the production cover letter. All images should be

provided in single-page, Group IV TIFF with a resolution of 300 DPI. Bates numbers and

confidentiality designations should be electronically branded on each produced *.tiff image.

These .TIFF images should be provided in a separate folder and the number of TIFF files per

folder should be limited to 1,000 files.

       b.      Text Files. All unredacted documents should be provided with complete

document-level extracted text files, where extracted text is available. Where extracted text is not

available, OCR text will be provided where reasonably feasible. Document-level OCR text files

should be provided for any unredacted portions of redacted documents and for all hard copy

scanned documents and other imaged documents that do not have extracted text. If a party is not

providing OCR for a set of documents, it will identify those documents by Bates number at the

time of production. The extracted full text and/or OCR text for all deliverables should be in

separate document-level TXT files. These TXT files may either be provided in a separate folder



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or included in the same folder as their corresponding images. The number of TXT files per folder

should be limited to 1,000 files.

       c.        Native File Production.

            i.   Responsive spreadsheets (e.g., Excel), presentation files (e.g., Powerpoint), audio

files, and video files shall be produced in native format.

         ii.     A TIFF placeholder embossed with the corresponding confidentiality designation

and Bates number shall be produced for all ESI produced in native format. The placeholder

should include the words “Document produced in native format.”

        iii.     The file name for documents produced in native should be the Bates number for

the document along with the applicable confidentiality designation (e.g., “USF000000001 –

Confidential”), with the original file name identified in the File Name metadata field specified in

Exhibit A.

         iv.     Native files will not be produced for redacted documents, except for spreadsheets

or similar documents, which shall be natively redacted where feasible. Documents that cannot be

natively redacted may be produced in .tiff format with OCR text files in lieu of a native file.

Responsive ESI produced in native format shall be produced with all the metadata contained in

or associated with that file to the extent technologically possible. If a party identifies other forms

of responsive ESI that it would prefer to produce or receive in native format, the producing and

receiving parties shall meet and confer in good faith to address the issue.

            v.   Extracted text taken from native files will be provided at a document level. There

will be one text file per document, using the same name as the beginning Bates number

(Document ID) of the document. The extracted text file for a document will reside in the same

location (file directory) as the images for that document. The text file associated with any



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redacted document will exclude redacted text (i.e., the Producing Party can OCR the redacted

image of the unstructured ESI and replace the original extracted text).

        vi.     No party may attach to any pleading or any correspondence or submit as an

exhibit or in any other manner use at a deposition or any other judicial proceeding a copy of any

native format document produced by any party without ensuring that either the corresponding

slip sheet is attached to the document or the corresponding Bates number and confidentiality

legend, as designated by the Producing Party, appears on or is associated with the document.

       d.       Embedded Objects. If documents contain embedded objects (e.g., a spreadsheet

embedded in a word processing document), the Parties will produce embedded objects as

separate files and treated as an attachment to the parent document.

       e.       Color. ESI containing color (for example, graphs, pictures, or color marketing

materials) will be produced as color images for each such document if color is necessary to

reasonably understand the content of the ESI (e.g., color charts). Otherwise, a Party may request

the Producing Party to produce particular documents or categories of documents in color where

reasonable.

       f.       Bates Numbering. All images must be assigned a Bates Number that must be

unique across the entire document production and sequentially numbered within a given

document. Producing Parties must emboss Bates numbers on all image files in a manner that

does not obscure any part of the underlying image and is, to the extent possible, oriented in the

same manner as the majority of the text on the page. The Parties shall cooperate with reasonable

requests regarding Bates Number formatting necessary for litigation support application use.

Each Bates Number shall be no more than 18 characters in length and including leading zeros so

that all Bates numbers produced by a Party have the same number of digits.



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       g.      De-duplication. The Parties shall make reasonable efforts to de-duplicate ESI.

ESI shall be de-duplicated horizontally across custodians. ESI will be considered duplicative if it

has the same MD5 or SHA-1 hash value at the family level. Attachments should not be

eliminated as duplicates for purposes of production, unless the parent and all attachments are

also duplicates. An email that contains content in the BCC or other blind copy field shall not be

treated as a duplicate of an email that does not contain identical content in those fields, even if all

remaining content in the email is identical. All custodians who were in possession of a de-

duplicated document must be identified in the Custodians metadata field specified in Exhibit A.

       h.      Confidentiality Endorsements. The producing party must brand any

confidentiality or similar endorsements in a corner of the TIFF images pursuant to the protective

order entered in this case. Those endorsements must be in a consistent font type and size and

must not obscure any part of the underlying image or Bates Number, to the extent possible.

       i.      Email Threading. To reduce the volume of entirely duplicative content within

email threads, the Parties may utilize “email thread suppression.” As used in this agreement,

email thread suppression means reducing duplicative production of email threads by producing

the most recent email containing the thread of emails, as well as all attachments within the

thread, and excluding emails constituting exact duplicates of emails within the produced string.

For purposes of this paragraph, only email messages in which the parent document, senders and

recipients (including blind copy), and all attachments are exactly the same will be considered

duplicates. Email thread suppression may not be used where any of the emails or attachments

included in the thread are withheld or redacted.

       j.      Metadata Fields and Processing. Each of the metadata and index fields set forth

in Exhibit A will be produced for that document. If the Producing Party becomes aware of an



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issue extracting metadata or any other processing, the Producing Party must notify the other

party and meet and confer to arrive at a mutually acceptable resolution of the issue. The Parties

are not obligated to create or manually code any of the fields in Exhibit A if such fields cannot

be extracted from a document, with the exception of metadata referring to characteristics of the

document production process itself, such as Bates numbers, confidentiality designations, and

redactions.

       k.      Parent-Child Relationships. Parent-child relationships refer to the association

between an attachment and its parent document. Parent-child relationships must be preserved.

Family relationships often exist between an email and its attachments, but can also be found

amongst a stand-alone document and files originally contained within that parent document,

which are subsequently de-embedded as part of discovery processing. For example, a

PowerPoint document with embedded Excel spreadsheets, for which the spreadsheets would be

treated as attachments to the PowerPoint.

       l.      Attachments. The Parties agree to produce complete documents when any part of

the document (including parents or attachments) is responsive. Where a document includes

numerous irrelevant attachments with confidential proprietary and/or personal information, the

Parties will meet and confer on whether those attachments need to be produced. If an attachment

is entirely withheld on the basis of privilege, such that the Producing Party asserts privilege over

a portion but not all of the responsive files in a family, the Producing Party shall produce a Bates

numbered slip sheet that contains the following language: “Document Withheld on the Basis of

Privilege.” Slip sheets need not be produced for fully privileged document families.

       m.      Redaction. The parties agree that where ESI items need to be redacted, they shall

be produced solely in TIFF with each redaction clearly indicated, except in cases where the



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documents cannot be rendered to TIFF in a reasonably usable manner (such as Excel

spreadsheets). In that case, the document may be redacted natively as long as pristine copy of the

original document is maintained. If the items redacted and partially withheld from production are

audio/visual files, the producing party shall provide the unredacted portions of the content, where

reasonably feasible. If the content is a voice recording, the parties shall meet and confer to

discuss the appropriate manner for the producing party to produce the unredacted portion of the

content.

        If a party redacts documents or ESI, the Producing Party will identify that the document

has been redacted and the basis for that redaction (e.g., “Privileged—ACC,” “Privileged—WP,”

“Privileged—Both ACC/WP,” “PII,” or “PHI”) in the “Redacted” metadata field identified in

Exhibit A. The redaction also shall be clearly visible on the face of the document. The party shall

also populate a corresponding metadata tag to indicate any such redactions. A party may not

redact information on the basis it believes such information to be irrelevant.

        n.      Load Files. Documents must be provided with (1) a delimited metadata file (.dat

or .txt); (2) an image load file; and (3) a text file.

        o.      File Size Limitation/Non-Standard Files. To the extent necessary or practical,

the Parties will discuss the format of production of unusually large files and non-standard

electronic files, and large oversized documents (e.g., blueprints, posters), to determine the

optimal production format.

        p.      Dynamic Fields. Documents with dynamic fields for file names, dates, and times

will be processed, where reasonably feasible, to show the field code (e.g., “[FILENAME]” or

“[AUTODATE]”), rather than the values for such fields existing at the time the file is processed.




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If it is not reasonably feasible to process and produce dynamic fields as above for any ESI items,

the producing party will advise the requesting party.

       q.      Compressed Files. Compressed file types will be decompressed in a reiterative

manner to ensure that a zip within a zip is decompressed into the lowest possible compression

resulting in individual folders and/or files.

       r.      Scanning of Hard-Copy Documents. Hard copy documents will be scanned and

processed as .tiff images with OCR. The Parties will use best efforts to unitize documents (i.e.,

distinct documents should not be merged into a single record, and a single document should not

be split into multiple records) and maintain document relationships. Copies of hard copy

documents may be made available for inspection and copying or may be delivered to the office

of counsel for the requesting party. To the extent this production format is not feasible or causes

the producing party undue burden, the Parties agree to meet and confer to discuss a different

form of production.

       s.      No Backup Restoration Required. Absent a showing of good cause, no party

need restore any form of media upon which backup data is maintained in a party’s normal or

allowed processes, including but not limited to, backup tapes, discs, SAN or other form of media,

in order to comply with its discovery obligation in the present case.

       t.      Encryption. To maximize the security of information in transit, any media on

which documents are produced may be encrypted by the producing party. In such cases, the

producing party shall transmit the encryption key or password to the requesting party, under

separate cover, reasonably contemporaneously with sending the encrypted media.




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   10. SPECIAL ESI ISSUES

       a.      Password-Protected or Encrypted. The Producing Party will take reasonable

steps to unlock or decrypt any password-protected or encrypted documents so they can be

reviewed and/or produced. In the event that a Producing Party is unable to access the content of

documents that are reasonably likely to be responsive to a discovery request, the Producing Party

shall produce a Bates numbered slip sheet for each document that cannot be accessed that

contains the following language: “Document Cannot be Opened Due to Encryption or Password

Protection.” In addition, the Producing Party shall advise the Requesting Party of the total

number of such documents and shall produce any available metadata for each document that

cannot be accessed.

       b.      Hidden Text. ESI items shall be processed in a manner that preserves hidden

columns or rows, hidden text or worksheets, speaker notes, tracked changes, and comments, all

of which shall be rendered visible on any documents not produced in native format.

       c.      System Files. ESI productions should be de-NISTed using the industry standard

list of such files maintained in the National Software Reference Library by the National Institute

of Standards & Technology. Other files types may be added or removed from the list of excluded

files by agreement of the parties. This provision is not intended to waive the Parties’ right to seek

production of specific files or file types that otherwise would be excluded by this provision.

       d.      Production of Structured Data. To the extent responsive information is

contained in a database or other structured data source, the parties will meet and confer in good

faith to discuss the appropriate format for production. A Producing Party that desires to produce

less than the entire data source will provide the Requesting Party with information about the data

source sufficient to facilitate an informed discussion of the appropriate form of production. This



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may include information such as database schema, tables and fields, codes, abbreviations, and

available report formats.

       e.      Inaccessible ESI. If a Producing Party asserts that certain ESI is inaccessible or

otherwise unnecessary under the circumstances, or if the Requesting Party asserts that, following

production, certain ESI is not reasonably usable, the Parties shall meet and confer with their

respective technology experts to discuss resolving such assertions. If the parties cannot resolve

any such dispute after such a meet and confer has taken place, the issue shall be presented to the

Court for resolution.

   11. PRIVILEGE LOGS AND CHALLENGES

       a.      Privileged Documents That Need Not Be Logged. Defendants shall have no

obligation to log privileged or work product documents created on or after September 14, 2020

solely concerning litigation, governmental regulatory investigations and administrative

proceedings arising out of the data security incident if exchanged exclusively between a Party, its

in-house attorneys, and its outside counsel, including support staff, paralegals, and secretarial

personnel. Documents and communications concerning other matters, including incident

response, investigation, remediation, and attacker attribution must be logged. Plaintiffs shall

have no obligation to log correspondence solely concerning this litigation exchanged exclusively

between themselves and outside counsel following counsel’s retention, including their respective

support staff, paralegals, and secretarial personnel. The Parties are not required to log privileged

or work product documents exchanged between outside counsel and experts or consultants solely

concerning litigation, governmental regulatory investigations and administrative proceedings

arising out of the data security incident. To the extent any experts or consultants also were

involved in activities related to incident response, investigation, or remediation, documents and



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communications exchanged in such other capacities must be logged. Any other Parties joined in

the future, if any, shall have no obligation to log correspondence solely concerning the litigation

exchanged with their outside counsel after the date on which a duty to preserve was triggered.

This Order is not intended to alter any applicable discovery limitations concerning activities

undertaken in compliance with the duty to preserve information (including, but not limited to,

litigation hold letters) under Federal Rule of Civil Procedure 26(b)(3)(A) and (B).

       b.      Format and Timing of Privilege Log Productions. Privilege logs shall be

produced as Excel spreadsheets. Each Producing Party shall produce privilege logs on a rolling

basis, updated to cover documents withheld from a particular production within 30 days of that

production. The Parties agree to produce privilege logs with sufficient time for the receiving

party to review the entries and bring challenges before any applicable case deadlines expire and

will meet and confer as necessary to permit this process.

       c.      General Privilege Log Contents. Unless otherwise specified in this Stipulation

and Proposed Order or agreed to by the parties, documents a party believes are covered by an

attorney-client privilege or work product protection should be logged on a privilege log on a

document-by-document basis. Consistent with Federal Rule of Civil Procedure 26(b)(5), the

following information should be provided (as applicable) in the privilege log for each document:

           Bates-number range, or if no Bates-number range, a unique document identification

            number;

           document type;

           family relationship;

           document date;

           attorney(s) and client(s) involved;

           all persons or entities shown on the document to have received or sent the document,

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            including copyees and blind copyees;

           all persons or entities known to have been furnished the document or informed of its

            substance;

           privilege or protection claimed; and

           without revealing information itself privileged or protected, a description of the

            subject matter of the withheld document or electronically stored information

            sufficient to enable the Requesting Party to assess the validity of the privilege claim.

       d.      Documents Redacted for Privilege. A Party need not provide a log of

documents redacted for privilege if (1) it complies with the provisions of this Stipulation and

Order concerning redactions, including providing a metadata field that indicates the basis of the

redaction, and (2) the contents and metadata produced with the redacted document together

contain all of the information that would otherwise be included on a privilege log.

       e.      Email Strings. Each withheld communication in an email string shall be

separately logged as described above, including identifying all other documents in the same

email string or document family.

       f.      Identification of Counsel. All in-house attorneys and outside counsel, including

their respective support staff, paralegals, and secretarial personnel involved in privileged

communications or work product shall be so identified in the privilege log.

       g.      Challenges to Privilege Log. If a Requesting Party believes in good faith that

one or more items in a Producing Party’s privilege log should be produced and are

inappropriately being withheld, then it shall raise the issue with the Producing Party in writing

with reasonably sufficient detail so that the Producing Party may understand the Requesting

Party’s complaint. Within ten (10) business days, the Producing Party shall respond in writing. If

the response does not satisfy the Requesting Party, the Parties shall meet and confer, and if the

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dispute as to the privileged nature of the material cannot be resolved, then the Requesting Party

may seek relief from the Court as to the specific log entries or categories of log entries (so long

as the category is identified with reasonable particularity) raised with the Producing Party in

accordance with any applicable Court procedures.

   12. MISCELLANEOUS PROVISIONS

       a.      Objections Preserved. Nothing in this protocol shall be interpreted to require

disclosure of information protected by the attorney-client privilege, work-product doctrine, or

any other applicable privilege or immunity. Except as provided expressly herein, the Parties do

not waive any objections as to the relevance, responsiveness, production, discoverability,

possession, custody, control, or confidentiality of Documents, including (without limitation)

objections regarding the burden or overbreadth of document requests.

       b.      Modifications. Any practice or procedure set forth herein may be varied by

agreement of the Parties, confirmed in writing, where such variance is deemed appropriate to

facilitate the timely and economical production of documents or ESI. This Stipulated Order may

also be modified by the Court for good cause shown.




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                                      EXHIBIT A
                                     Metadata Fields

  A. Default Production Fields

     The following default fields will be provided for all documents in the production.

            Field Name                                      Description

Begin Bates                        Beginning Bates Number of the Email, Application File,
                                   or Paper Document

End Bates                          Ending Bates Number of the Email, Application File, or
                                  Paper Document

Begin/End Bates                    Bates Range for Email, Application File, or Paper
                                   Documents

Begin/End                          Bates Range for Full Family
Attachment

Att Count                          Number of attachments to an email

Parent/Child ID                    Bates Number of either the Attachment (if Parent Email)
                                   of Parent Email (if Attachment)

Confidentiality                    Field populated with the appropriate confidentiality
                                   designation for the Document.

Custodians                         Multi-value field for custodians identified during
                                   collection. All documents should have a custodian value
                                   present. Multiple custodians should be separated by a “,”.
                                   If multiple documents dedupe during processing, this field
                                   should be populated with all custodian values available.

Page Count                         The number of pages in the Document.

Redacted                           Field indicating whether the Document contains
                                   redactions and the basis for the redaction (e.g., privileged,
                                   etc.).




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   B. Metadata Fields

       The following metadata fields associated with emails, attachments and non-email files

will be exchanged. Any privileged metadata associated with any redacted documents may be

withheld from the production and treated like all other data subject to this Stipulation and Order.

 Field Name              Email or Non-Email          Description
 Subject/Title           Email                       Subject line of the email

 File name               Non-Email                   Name of the Application File

 File Extension          Non-Email                   File extension

 Sent Date               Email                       Email Sent date

 Received Date           Email                       Email Received date

 Created Date            Non-Email                   Date Application File was created. Note that
                                                     Created Date may be subject to change during
                                                     collection or processing as a result of auto date
                                                     function or other processes.

 Modified Date           Non-Email                   Date Application File was last modified

 Modified Time           Non-Email                   Date Application File was last modified

 Author/From             Both                        Author of the Application File or sender of the
                                                     Email

 Recipient/To            Email                       Recipients of the Email

 Copyee                  Email                       CCs of the Email

 BCC                     Email                       BCCs of the Email

 File Type               Both                        Email, Spreadsheet, Word Processing
                                                     Document, etc.

 File Path               Both                        Location of the File Within the system

 Path to Native          Both                        Location of the File within the Production


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Path to Text           Both                   Location of the file within the Production

Document Type          Both                   Type of file—Email, Attachment, or other file
                                              type

Email Sent Time        Email                  Time Email was sent

Email Received         Email                  Time Email was received
Time
File Created Time      Non-Email              Time Application File was created

Native File Name       Non-Email              Native files named after the Bates number, e.g.,
                                              E00001.xls (in contrast to File Name which is
                                              the original name of the file)

MD5 Hash               Non-mail               Value commonly used to de-duplicate files or
                                              identify duplicates




      IT IS SO STIPULATED, through Counsel of Record.



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                                                     Grove Reproductive Science Center P.C., and
                                                     Fertility Centers ofIllinois. S.C.


                                    -------------------- ORDER
                                   [PROPOSED]


      PURSUANT TO STIPULATION,IT IS SO ORDERED.




       Dated:                      ,2021
                                             Hdnorable/Peter J. Messitte
                                             Unubd.States District Court




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                               CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 22nd day of November 2021, a copy of the foregoing
Stipulated Order Re: Discovery of Electronically Stored Information was filed with the Clerk of
the Court via the Court’s CM/ECF system, which will automatically send e-mail notification of
such filing to the registered attorneys of record.




                                            /s/ Nikoletta S. Mendrinos
                                            Nikoletta S. Mendrinos




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